Case 0:19-cv-61898-RKA Document 22 Entered on FLSD Docket 10/22/2019 Page 1 of 2



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 0:19-CV-61898-RKA

  DEENA PORRAS, KENNETH MCKENZIE,
  and DEBORAH LITZ, individually and on
  behalf of all those similarly situated,

         Plaintiffs,

  v.

  ENHANCED RECOVERY COMPANY,
  LLC, d/b/a ERC,

        Defendant.
  _______________________________________/

        NOTICE OF VOLUNTARY DISMISSAL OF COUNT III WITH PREJUDICE

         Plaintiffs DEENA PORRAS, KENNETH MCKENZIE, and DEBORAH LITZ

  (collectively, the “Plaintiffs”), pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

  Procedure, hereby file this Notice Voluntary Dismissal with Prejudice of Count III of Plaintiffs’

  First Amended Complaint [D.E. 10] (“FAC”). See D.E. 10 at 13, ¶¶ 71-75.

         DATED: October 22, 2019
                                                                Respectfully Submitted,

                                                                 /s/ Jibrael S. Hindi                                   .
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                                                                COUNSEL FOR PLAINTIFF
                                                                                                                 PAGE | 1 of 2
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Case 0:19-cv-61898-RKA Document 22 Entered on FLSD Docket 10/22/2019 Page 2 of 2




                                          CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on October 22, 2019, the foregoing was electronically

  filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

  filing to all counsel of record.

                                                                 Respectfully Submitted,

                                                                  /s/ Thomas J. Patti                                    .
                                                                 THOMAS J. PATTI, ESQ.
                                                                 Florida Bar No.: 118377




                                                                                                                  PAGE | 2 of 2
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